
This was a writ of error to a judgment of the General Court, rendered on a bond given by three obligors. The suit was instituted against the surviving obligor, and against the executors of each deceased obligor, but was discontinued against the surviving obligor, and judgment was rendered against the executors of the two deceased obligors.
The declaration stated the obligation to be joint; and therefore, because at that time a joint obligation survived, the executors of the deceased were admitted to be discharged; and the judgment was reversed.
Judge Mercer observed, that the case of Grymes &amp; al. v. Robinsons adm’rs, decided in the former Court of Appeals, was an express authority to prove that, at law, the executors of two persons could not be joined in the same action. In that case the Judges, then sitting had unanimously given that opinion. But the President, who was one of the administrators, and did not sit in that cause, now said he was never satisfied with the decision in it; and wished the point to remain open to be reconsidered, should it again occur.
